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R .3188 .
‘ °" ’ ease 2:01-@r-20328-1S@Nt>aaanias sasser/aware 1 Of 2 Pa@e'D 82
for Fu.Eo sr __ _' ____ o.c.
WESTERN DISTRICT OF TENNESSEE 05 AUG 2[* pM 3: l h
lllC/?ti¢l-S iii GOULD
U. S. A. vs. Caro n Rushin Docket No. 2:01CR20328§§U‘-\, li.$`j s

 

Petition on Probation and Supervised Release

COMES NOW Brenda L. Cgpten PROBATION OFFICER OF THE COUR'I` presenting an official
report upon the conduct and attitude of Carol__vg Rushing who Was placed on supervision by the Honorable _Ju_§a
Smith Gibbons sitting in the Court at Mem_phis` TN on the 20th day ofDecember, 2002, Who fixed the period of
supervision at three §3 1 years* , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

l. The defendant shall submit to substance testing and treatment as deemed appropriate by the Probation
Of|:`lcer.

2. The defendant shall make full financial disclosure upon request by the Probation Ofiicer.

3. The defendant shall be prohibited from opening additional lines of` credit With approval by the Probation
OHicer.

4. Third Party Risk notification is required.

5. The defendant shall pay restitution in the amount Of`$l 11,704.43. (Balance $110,904.43).

* Term of Supervised Release Begin: July 14, 2004

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

Af’cer reviewing the oH`ender’s monthly income and necessary living expenses, it appears that ten (10%) percent of`
her gross income in an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Carolyn Rushing’s restitution payments be set at ten
percent (IO%) percent of her monthly gross income.

 

 

 

 

ORDER OF COURT Respectfully,
ll
C nsider£d and ordered this 33 °l day '7?-’“”“% ('$WS>
of “'J "`: 2005 and ordered filed and made Brenda L. Carpten
a part of the records in the above case. United States Probation Oiiicer
W//M¢-»_ Place Memnhis. Tennessee
United States District Judge Date August l l. 2005

This document entered on the docket sheet `:n compliance

with Ru|e 55 and/or 32(b) FHCrP on 8' 23/ 05 @

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 84 in
case 2:0]-CR-20328 Was distributed by f`aX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Honorable Julia Gibbons
US DISTRICT COURT

